         Case 6:25-cv-01072-DDC-GEB              Document 9         Filed 05/07/25       Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


    TIMOTHY JOSEPH SMITHE FOREIGN
    GRANTORS TRUST & MARY ASTOR
    SMITHE FOREIGN GRANTORS
    TRUST,

            Plaintiffs,                                         Case No. 25-1072-DDC-GEB

    v.

    DIRECTOR OF ILLINOIS
    DEPARTMENT OF PUBLIC HEALTH,
    et al.,

            Defendants.




                                     ORDER TO SHOW CAUSE

TO PLAINTIFFS:

          Timothy Joseph and Mary Astor Smithe assert claims on behalf of two foreign grantors

trusts: The Timothy Joseph Smithe Foreign Grantors Trust and the Mary Astor Smithe Foreign

Grantors Trust. See Doc. 1 at 1–2 (Compl.).1 The claims are somewhat difficult to discern, but

they appear to allege 30 defendants fraudulently used Timothy and Mary’s social security

numbers to steal their identities and “labor”—valued (by the Smithes) at $375 million. Doc. 5 at

2, 5 (Motion for Temporary Restraining Order). The 30 defendants include state and federal

agencies and officers, as well as private financial institutions. See Doc. 1 at 1 (Compl.). And

defendants’ fraud, identity theft, and trespass allegedly spanned the last 47 years. Doc. 5 at 2.




1
        Plaintiffs state the trusts are “irrevocable foreign grantor trust[s.]” Doc. 1 at 2 (Compl.). They
request “SSN-free trust certificates” as part of their relief. Id. at 4 (Compl. ¶ 6).
     Case 6:25-cv-01072-DDC-GEB               Document 9        Filed 05/07/25      Page 2 of 3




        An individual may “conduct their own case[] personally” in federal court. 28 U.S.C.

§ 1654. But an artificial entity may appear in federal court solely through licensed counsel.

Rowland v. Cal. Men’s Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 201–02 (1993).

Trusts are “artificial entities that exist independently of their trustees.” In re Wilson, 860 F.

App’x 147, 150 (10th Cir. 2021) (citing Conagra Foods, Inc. v. Americold Logistics, LLC, 776

F.3d 1175, 1176 (10th Cir. 2015), aff’d sub nom. Americold Realty Tr. v. Conagra Foods, Inc.,

577 U.S. 378 (2016)). The trusts here appear without counsel, acting through the Smithes. But

the Smithes can’t represent the trusts’ interests in federal court—a licensed attorney must do so.

See id. (“Because Mr. Wilson lacks the authority to practice law, he cannot represent the interests

of a separate entity like the trust itself.”); United States v. Lain, 773 F. App’x 476, 477 (10th Cir.

2019) (dismissing appeal because pro se individual sought to represent the trust, not his own

interests); DeWilde v. Att’y Gen., No. 23-8054, 2024 WL 1550708, at *2 (10th Cir. Apr. 10, 2024)

(“[Trustee] is not the trust, and as a non-licensed pro se party, he cannot prosecute his case on

behalf of the trust[.]”).

        The court orders plaintiffs to show cause—through appearance of counsel admitted to

practice in our court—why the court should not dismiss this case within 30 days of this Order.

The court won’t evaluate or rule plaintiffs’ Motion for Temporary Restraining Order (Doc. 4)

without admitted counsel to represent the trusts. If counsel for the plaintiff trusts fails to enter an

appearance by June 6, 2025, the court will dismiss plaintiffs’ Complaint. See Hartnett v. Farm

Serv. Agency, U.S. Dep’t of Agric., No. 18-CV-01045-EFM-GEB, 2018 WL 2971692, at *3–4 (D.

Kan. June 12, 2018) (dismissing case brought by trust’s fiduciary trustee because trustee—as

non-attorney—couldn’t represent trust); Mitchelle Art 89 Tr. v. Astor Alt, LLC, No. 15-cv-00463-

WSD, 2015 WL 4394887, at *2 (N.D. Ga. July 15, 2015) (dismissing action after plaintiff—a



                                                   2
     Case 6:25-cv-01072-DDC-GEB              Document 9       Filed 05/07/25      Page 3 of 3




trust—failed to follow court order to appear by counsel); Ferentinos v. Kissimmee Util. Auth.,

604 F. App’x 808, 810 (11th Cir. 2015) (affirming district court’s dismissal after plaintiff ignored

orders that his wife’s estate and class-action claims required legal counsel and separate filing).

       IT IS SO ORDERED.

       Dated this 7th day of May, 2025, at Kansas City, Kansas.

                                                      s/ Daniel D. Crabtree
                                                      Daniel D. Crabtree
                                                      United States District Judge




                                                  3
